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                                                     Howard Leventhal
                                                     Reg No 46376-424
                                                     FPC Duluth
                                                     P.O. Box 1000
Sept 14, 2018
                                                     Duluth, MN 55814


Judge Brian M. Cogan
                                                     RE: LEVENTHAL v US
United States District Court
                                                     18-cv-3470(BMC)
Eastern District of New York
                                                     (13-cr-695(BMC))
225 Cadman Plaza East
Brooklyn, NY 11201
                                                     RUNNING OUT THE CLOCK

Judge Cogan:

By the time you read this, there will be less than 4 weeks remaining in my
daughter's minority.

When Zissou began disinforming me about filing a 2255 questioning his ability,
there were one and one half years remaining. When I filed the 2255 petition,
there were five months remaining. When "the Government" requested and received
an extension of time for the purpose of running out the clock, there were
three months remaining.

This is unarguably no longer a consequence of my sentence - it is my sentence.


   s truly.




Howard Leventhal




cc: AUSA via ECF
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